OAO 245B Case    5:14-cr-50044-TLB
          (Rev. 09/08) Judgment in a Criminal Case Document 60              Filed 10/30/15            Page 1 of 6 PageID #: 334
          Sheet 1



                                       UNITED STATES DISTRICT COURT
                       WESTERN                                    District of                                ARKANSAS
          UNITED STATES OF AMERICA                                        JUDGMENT IN A CRIMINAL CASE
                             V.

MANUEL ARTURO VASQUEZ, a/k/a “Peewee”                                     Case Number:                      5:14CR50044-001
                                                                          USM Number:                       51035-380

                                                                          Kimberly R. Weber
                                                                          Defendant’s Attorney
THE DEFENDANT:
X pleaded guilty to count(s)       One (1) of the Indictment on June 26, 2015.

G pleaded nolo contendere to count(s)
   which was accepted by the court.
G was found guilty on count(s)
   after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section                   Nature of Offense                                                         Offense Ended               Count
21 U.S.C. §§ 841(a)(1) and        Conspiracy to Distribute Methamphetamine                                   12/31/2013                  1
846




        The defendant is sentenced as provided in pages 2 through         6              of this judgment. The sentence is imposed within the
statutory range and the U.S. Sentencing Guidelines were considered as advisory.

G The defendant has been found not guilty on count(s)
G Count(s)                                              G is      G are dismissed on the motion of the United States.
         It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution,
the defendant must notify the court and United States attorney of material changes in economic circumstances.

                                                                          October 28, 2015
                                                                          Date of Imposition of Judgment


                                                                          /s/ Timothy L. Brooks
                                                                          Signature of Judge




                                                                          Honorable Timothy L. Brooks, United States District Judge
                                                                          Name and Title of Judge


                                                                          October 30, 2015
                                                                          Date
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              Sheet 2 — Imprisonment
                                                                                                         Judgment — Page     2       of       6
    DEFENDANT:                   MANUEL ARTURO VASQUEZ, a/k/a “Peewee”
    CASE NUMBER:                 5:14CR50044-001


                                                                IMPRISONMENT

            The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
    total term of:     twenty-seven (27) months.




     X    The court makes the following recommendations to the Bureau of Prisons:
          the defendant enroll in and complete his GED; and be placed in a facility as close as possible to Northwest Arkansas, such as the facility
          at El Reno or Texarkana.




     X    The defendant is remanded to the custody of the United States Marshal.

     G    The defendant shall surrender to the United States Marshal for this district:

          G     at                                     G a.m.      G p.m.         on                                             .

          G     as notified by the United States Marshal.

     G    The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

          G     before 1 p.m. on                                             .

          G     as notified by the United States Marshal.

          G     as notified by the Probation or Pretrial Services Office.


                                                                      RETURN
    I have executed this judgment as follows:




          Defendant delivered on                                                             to

a                                                       , with a certified copy of this judgment.



                                                                                                       UNITED STATES MARSHAL


                                                                              By
                                                                                                    DEPUTY UNITED STATES MARSHAL
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             Sheet 3 — Supervised Release
                                                                                                          Judgment—Page       3     of         6
DEFENDANT:                    MANUEL ARTURO VASQUEZ, a/k/a “Peewee”
CASE NUMBER:                  5:14CR50044-001
                                                        SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of :           three (3) years.




     The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from the
custody of the Bureau of Prisons.
The defendant shall not commit another federal, state or local crime.
The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
thereafter, as determined by the court.
G The above drug testing condition is suspended, based on the court’s determination that the defendant poses a low risk of
       future substance abuse. (Check, if applicable.)
X      The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, if applicable.)
X      The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)
G The defendant shall register with the state sex offender registration agency in the state where the defendant resides, works, or is a
       student, as directed by the probation officer. (Check, if applicable.)
G The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
    If this judgment imposes a fine or restitution, it is a condition of supervised release that the defendant pay in accordance with the
Schedule of Payments sheet of this judgment.
     The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditions
on the attached page.

                                            STANDARD CONDITIONS OF SUPERVISION
  1)      the defendant shall not leave the judicial district without the permission of the court or probation officer;
  2)      the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
  3)      the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
  4)      the defendant shall support his or her dependents and meet other family responsibilities;
  5)      the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
          acceptable reasons;
  6)      the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
  7)      the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
          controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
  8)      the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
  9)      the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of a
          felony, unless granted permission to do so by the probation officer;
 10)      the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
          contraband observed in plain view of the probation officer;
 11)      the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
 12)      the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
          permission of the court; and
 13)      as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant’s criminal
          record or personal history or characteristics and shall permit the probation officer to make such notifications and to confirm the
          defendant’s compliance with such notification requirement.
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            Sheet 3C — Supervised Release
                                                                                                      Judgment—Page      4     of        6
DEFENDANT:                 MANUEL ARTURO VASQUEZ, a/k/a “Peewee”
CASE NUMBER:               5:14CR50044-001

                                        SPECIAL CONDITIONS OF SUPERVISION

    1.    The defendant shall submit to inpatient or outpatient substance abuse evaluation, counseling, testing, and/or treatment as deemed
          necessary and directed by the U.S. Probation Officer.

    2.    The defendant shall submit his person, residence, place of employment, and vehicle to a search to be conducted by the U.S. Probation
          Officer at a reasonable time and in a reasonable manner based on a reasonable suspicion that evidence of any violation of a condition
          of supervised release might thereby be disclosed.
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          Sheet 5 — Criminal Monetary Penalties
                                                                                                   Judgment — Page     5      of        6
DEFENDANT:                        MANUEL ARTURO VASQUEZ, a/k/a “Peewee”
CASE NUMBER:                      5:14CR50044-001
                                              CRIMINAL MONETARY PENALTIES
     The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

                    Assessment                                           Fine                            Restitution
TOTALS            $ 100.00                                             $ 1,000.00                      $ -0-


G The determination of restitution is deferred until               . An Amended Judgment in a Criminal Case (AO 245C) will be entered
     after such determination.

G The defendant must make restitution (including community restitution) to the following payees in the amount listed below.
     If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise in
     the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal victims must be paid
     before the United States is paid.

Name of Payee                                  Total Loss*                      Restitution Ordered                  Priority or Percentage




TOTALS                                $                                     $


G    Restitution amount ordered pursuant to plea agreement $

G    The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
     fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be subject
     to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

X    The court determined that the defendant does not have the ability to pay interest and it is ordered that:

     X the interest requirement is waived for the             X fine     G restitution.
     G the interest requirement for the              G fine    G restitution is modified as follows:


* Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed on or after
September 13, 1994, but before April 23, 1996.
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           Sheet 6 — Schedule of Payments

                                                                                                         Judgment — Page      6     of        6
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CASE NUMBER:               5:14CR50044-001

                                                   SCHEDULE OF PAYMENTS

Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties are due as follows:

A    X Lump sum payment of $            1,100.00             due immediately.

          G     not later than                                   , or
          X     in accordance         G C,       G D,       G      E, or     X F below; or
B    G Payment to begin immediately (may be combined with                  G C,      G D, or      G F below); or
C    G Payment in equal                         (e.g., weekly, monthly, quarterly) installments of $                       over a period of
                         (e.g., months or years), to commence                 (e.g., 30 or 60 days) after the date of this judgment; or

D    G Payment in equal                       (e.g., weekly, monthly, quarterly) installments of $                     over a period of
                       (e.g., months or years), to commence                 (e.g., 30 or 60 days) after release from imprisonment to a
          term of supervision; or

E    G Payment during the term of supervised release will commence within                     (e.g., 30 or 60 days) after release from
          imprisonment. The court will set the payment plan based on an assessment of the defendant’s ability to pay at that time; or

F    X Special instructions regarding the payment of criminal monetary penalties:
          If not paid immediately, any unpaid financial penalty shall be paid during the period of imprisonment at a rate of $15.00 or 10% of
          defendant’s quarterly earnings, whichever is greater. The payment of any remaining balance shall be a condition of supervised release
          and may be paid in monthly installments of $75.00 or 15% of the defendant’s net monthly household income, whichever is greater,
          with the entire balance of the fine to be paid in full one month prior to the end of the period of supervised release.



Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due during
imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons’ Inmate Financial
Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.



G Joint and Several
     Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
     and corresponding payee, if appropriate.




G The defendant shall pay the cost of prosecution.
G The defendant shall pay the following court cost(s):
G The defendant shall forfeit the defendant’s interest in the following property to the United States:


Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal, (5) fine
interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
